Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 1 of 31 PageID 10391




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


  NUVASIVE, INC.,

                        Plaintiff,

  v.                                                    Case No. 6:17-cv-2206-CEM-GJK
                                                                          UNDER SEAL
  ABSOLUTE MEDICAL, LLC,
  GREG SOUFLERIS, DAVE
  HAWLEY, ABSOLUTE
  MEDICAL SYSTEMS, LLC,
  RYAN MILLER, and BRYAN E
  BUSCH,

                        Defendants.
                                             /

                                             ORDER
         THIS CAUSE is before the Court on the Court’s May 4, 2021 Order

  (“Summary Judgment Order,” Doc. 290);1 Absolute Medical, LLC’s (“AM”) and

  Absolute Medical Systems, LLC’s (“AMS”) Motion to Confirm Arbitration Award

  (“Motion to Confirm,” Doc. 333);2 Plaintiff’s Motion to Vacate Arbitration Award

  (“Motion to Vacate,” Doc. 353) and Plaintiff’s Sealed Motion to Vacate Arbitration




         1
            The Summary Judgment Order also ordered Defendants’ counsel, Mr. Bryan E. Busch,
  to show cause as to why sanctions should not be entered against him. (Doc. 290 at 57). Mr. Busch
  filed a Response (Doc. 293).
          2
            Plaintiff filed a Response in Opposition (Doc. 354) and a Sealed Response in Opposition
  (Doc. 356), and Defendants filed a Reply (Doc. 362).



                                            Page 1 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 2 of 31 PageID 10392




  Award (“Sealed Motion to Vacate,” Doc. 355); 3 and Defendants’ Motion to Strike

  Declaration of Clayton (“Motion to Strike,” Doc. 368). For the reasons stated herein,

  the Motion to Confirm will be denied, the Motion to Vacate and Sealed Motion to

  Vacate will be granted, and the Motion to Strike will be denied as moot.

                                       I.     BACKGROUND

        After four long years of litigation, it is somewhat ironic that the underlying

  facts leading up to the claims in this case are nearly irrelevant at this point.

  Nonetheless, the Court will briefly summarize the actions that led to the current

  situation. This case arises primarily from a contractual dispute between Plaintiff, a

  manufacturer of medical products and equipment, (Second Am. Compl., Doc. 188,

  at 3), and AM, which entered into an Exclusive Sales Representative Agreement

  (Doc. 60-7 at 3–27) with Plaintiff beginning in 2013. In 2017, Plaintiff and AM

  continued their relationship when they executed another Exclusive Sales

  Representative Agreement (“2017 Sales Agreement,” Doc. 260-3, at 131–59).

  Defendant Greg Soufleris was the president and sole member of AM. (AM Dep.,

  Doc. 260-1, at 4, 8, 10). Defendants Dave Hawley and Ryan Miller, each through

  their own company, were sales representatives for AM. (Soufleris Dep., Doc. 260-

  3, at 91–92; Hawley’s 2016 Independent Contractor Agreement, Doc. 260-10, at 20;

  Miller’s 2016 Independent Contractor Agreement, Doc. 260-11, at 20). Near the end


        3
            Defendants filed a Response (Doc. 360), and Plaintiff filed a Reply (Doc. 365).



                                             Page 2 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 3 of 31 PageID 10393




  of 2017, Soufleris “dissolve[d]” AM and created a “new entity,” AMS, to “replac[e]”

  AM. (AMS EIN Email, Doc. 260-1, at 121; Doc. 260-1 at 66–67). Shortly after

  Soufleris formed the new company, Hawley and Miller began working for AMS.

  (Hawley Dep., Doc. 260-18, at 4, 8, 15–17, 46–49; Miller Dep., Doc. 260-20, at 11,

  23–26, 28–29, 31–32).

        Following termination of the parties’ business relationship and formation of

  AMS, Plaintiff filed this lawsuit, which asserted nine counts in the Second Amended

  Complaint. (See generally Doc. 188). Counts I and II are breach of contract claims

  against AM; Count III is a breach of contract claim against AMS; Count IV is a

  breach of contract claim against Hawley and Miller; Count V is a conversion claim

  against Hawley and AMS; Count VI is a Florida Revised Limited Liability Company

  Act claim against Soufleris; Count VII pertains to piercing the corporate veil as to

  Soufleris for the actions of AM and AMS; Count VIII is a Florida Deceptive and

  Unfair Trade Practices Act claim against all Defendants; and Count IX is a tortious

  interference claim against Soufleris. (Id. at 14–23).

        In 2019, pursuant to a “Dispute Resolution” clause in the 2017 Sales

  Agreement, (Doc. 260-3 at 145–46), the Court ordered Plaintiff and AM to “proceed

  to arbitration on Count II” and stayed “Counts III, to the extent that Plaintiff seeks

  monetary relief, VI, VII, VIII, and IX . . . pending arbitration.” (May 31, 2019 Order,

  Doc. 178, at 5). While arbitration was proceeding, Plaintiff moved for summary




                                       Page 3 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 4 of 31 PageID 10394




  judgment as to Counts I, III, and IV. (See generally Pl.’s Mot. for Summ. J., Doc.

  260). Hawley, Miller, and AMS moved for summary judgment as to Counts IV and

  V. (See generally Hawley, Miller, and AMS’s Mot. for Summ. J., Doc. 257). The

  Court granted partial summary judgment to each side on certain undisputed material

  facts and issues of law. (Doc. 290 at 57–58). Once arbitration concluded, (see

  generally Final Award, Doc. 283-2), the stayed counts were unstayed, and

  Defendants filed a second round of summary judgment motions, (see generally

  Defs.’ Mot. for Partial Summ. J., Doc. 308; AMS’s Mot. for Summ. J., Doc. 312).

  The Court denied both of the subsequent motions for summary judgment. (Nov. 12,

  2021 Order, Doc. 334, at 30).

        At this point, the Court fully expected that this case would then proceed to the

  long-awaited trial, which was scheduled to begin on November 29, 2021. (Notice of

  Hearing, Doc. 286). Then the instant motions were filed, one requesting that the

  Court confirm the arbitration award and one requesting that the Court vacate the

  arbitration award. (See generally Doc. Nos. 333, 353). Given the timing of the

  quickly approaching trial, the Court was forced to once again continue the trial to

  consider the issues raised in the motions concerning the arbitration award. (Nov. 17,

  2021 Endorsed Order, Doc. 350).




                                       Page 4 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 5 of 31 PageID 10395




                II.    MOTION TO VACATE AND MOTION TO CONFIRM

        A.     Legal Standard

        The Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., governs arbitration

  awards arising from contracts involving transactions in interstate commerce. Hill v.

  Rent-A-Center, Inc., 398 F.3d 1286, 1288 (11th Cir. 2005). When parties to an

  arbitration agreement “have agreed that a judgment of the court shall be entered upon

  the award made pursuant to the arbitration, . . . then at any time within one year after

  the award is made any party to the arbitration may apply to the court . . . for an order

  confirming the award, and thereupon the court must grant such an order unless the

  award is vacated, modified, or corrected as prescribed in [9 U.S.C. §§ 10, 11].” 9

  U.S.C. § 9. A court “may make an order vacating the award upon the application of

  any party to the arbitration” when, inter alia, “the award was procured by corruption,

  fraud, or undue means.” Id. § 10(a)(1). “Notice of a motion to vacate . . . an award

  must be served upon the adverse party or his attorney within three months after the

  award is filed or delivered.” Id. § 12.

        B.     Analysis

        The FAA provision for confirmation of an arbitration award applies only if

  the award has not been vacated, modified, or corrected. 9 U.S.C. § 9. Therefore, the

  Court will first consider Plaintiff’s Motion to Vacate.




                                        Page 5 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 6 of 31 PageID 10396




               1.     Jurisdiction

        “A federal court not only has the power but also the obligation at any time to

  inquire into jurisdiction whenever the possibility that jurisdiction does not exist

  arises.” Fitzgerald v. Seaboard Sys. R.R., 760 F.2d 1249, 1251 (11th Cir. 1985) (per

  curiam). The FAA “does not confer subject matter jurisdiction over petitions to

  vacate arbitration awards, nor does it create independent federal question

  jurisdiction.” Peebles v. Merrill Lynch, Pierce, Fenner & Smith Inc., 431 F.3d 1320,

  1325 (11th Cir. 2005) (citing Baltin v. Alaron Trading Corp., 128 F.3d 1466, 1469

  (11th Cir. 1997), cert. denied, 525 U.S. 841 (1998)). Therefore, the Court first

  ensures that it has jurisdiction to consider the Motion to Vacate.

        The FAA provides that a motion to vacate may be filed in “the United States

  court in and for the district wherein the award was made.” 9 U.S.C. § 10(a). Here,

  the arbitration award was made in San Diego, California, (Doc. 283-2 at 2), which

  is located in the U.S. District Court for the Southern District of California, 28 U.S.C.

  § 84(d). However, “when a federal district court grants a motion to compel

  arbitration it retains jurisdiction to confirm or vacate the resulting arbitration award

  under 9 U.S.C. §§ 9–10.” PTA-Fla, Inc. v. ZTE USA, Inc., 844 F.3d 1299, 1305 (11th

  Cir. 2016) (quoting TranSouth Fin. Corp. v. Bell, 149 F.3d 1292, 1297 (11th Cir.

  1998); citing Marine Transit Corp. v. Dreyfus, 284 U.S. 263, 275–76 (1932)

  (“[W]here the court has authority under the [FAA] . . . to make an order for




                                        Page 6 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 7 of 31 PageID 10397




  arbitration, the court also has authority to confirm the award or to set it aside.”)).

  This Court had subject matter jurisdiction over the case at the time it granted the

  Motion to Compel Arbitration, (Doc. 178 at 4–5), so it retains jurisdiction to rule on

  the Motion to Vacate. PTA-Fla, 844 F.3d at 1305.

               2.     Equitable Tolling

        As noted above, the FAA requires that a motion to vacate an arbitration award

  “be served upon the adverse party or his attorney within three months after the award

  is filed or delivered.” 9 U.S.C. § 12. It is undisputed that Plaintiff did not file its

  Motion to Vacate within the prescribed three-month statutory timeframe. (See Doc.

  283-2 at 15 (noting that the Final Award is dated March 4, 2021); Doc. 353 at 20

  (noting that the Motion to Vacate was filed on November 22, 2021)). Nonetheless,

  Plaintiff argues that the Court should equitably toll the three-month statutory period

  for filing a motion to vacate because of Defendants’ fraud during the arbitration

  hearing and attempts to conceal that fraud following the arbitration award.

  Defendants, on the other hand, argue that the doctrine of equitable tolling has not

  been adopted by the Eleventh Circuit as applied to the FAA and therefore cannot be

  applied here.

        Equitable tolling “suspends a limitations period ‘until the facts which would

  support a cause of action are apparent or should be apparent to a person with a

  reasonably prudent regard for his rights.’” Cocke v. Merrill Lynch & Co., 817 F.2d




                                       Page 7 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 8 of 31 PageID 10398




  1559, 1561 (11th Cir. 1987) (quoting Reeb v. Econ. Opportunity Atlanta, Inc., 516

  F.2d 924, 930 (5th Cir. 1975)).4 Only a single Eleventh Circuit case has considered

  the issue of whether district courts can apply equitable tolling to the three-month

  statutory deadline for vacation of an arbitration award. In Cullen v. Paine, Webber,

  Jackson & Curtis, Inc., 863 F.2d 851 (11th Cir. 1989), the Eleventh Circuit held that

  it was “unpersuaded” by the appellant’s contention that equitable tolling applied to

  the FAA because the appellant failed to cite any applicable case law and “alleged

  insufficient facts to demonstrate” that he proceeded with due diligence. Id. at 854.

  Essentially, the Eleventh Circuit declined to decide the issue because the appellant

  had not met its burden and the specific facts presented were not compelling.

  However, the Eleventh Circuit did not rule out the possibility of applying equitable

  tolling to the FAA, noting that “an exception might be proper in some

  circumstances.” Id. Other circuit courts have similarly held that an exception might

  potentially exist but that the facts before the courts did not warrant application of

  such an exception. 5 Fradella v. Petricca, 183 F.3d 17, 21 (1st Cir. 1999) (“We need

  not consider whether the deadline prescribed in FAA § 12 is subject to such equitable

  tolling, since [the appellant] has not generated a trialworthy issue as to his


         4
           Cases decided by the Fifth Circuit prior to October 1, 1981 are binding on this Court. See
  Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981).
         5
           District courts in the Eleventh Circuit have also held similarly. Mitra v. Glob. Fin. Corp.,
  No. 08-80914-CIV, 2009 U.S. Dist. LEXIS 53954, at *9 (S.D. Fla. June 23, 2009); Belz v. Morgan
  Stanley Smith Barney, LLC, No. 3:13-cv-636-J-34MCR, 2014 U.S. Dist. LEXIS 28906, at *25
  (M.D. Fla. Mar. 5, 2014).



                                             Page 8 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 9 of 31 PageID 10399




  entitlement to invoke tolling.”); Choice Hotels Int’l, Inc. v. Shiv Hosp’y, LLC, 491

  F.3d 171, 177–78 (4th Cir. 2007) (assuming arguendo that due diligence and tolling

  were exceptions to the three-month statutory time period but concluding that the

  facts did not warrant application of the exceptions); Taylor v. Nelson, 788 F.2d 220,

  225 (4th Cir. 1986) (“We do not consider, however, whether due diligence or tolling

  rules are proper exceptions to the limitations period prescribed by the [FAA], for we

  conclude that [the appellee] did not, in any event, act with due diligence, and was

  not prevented . . . from making a timely motion to vacate in the district court.”);

  Piccolo v. Dain, Kalman & Quail, Inc., 641 F.2d 598, 601 (8th Cir. 1981)

  (“Although the existence of a ‘due diligence’ exception may be questioned, the

  [appellees]’ efforts to comply with section 12 would not qualify for this exception

  in any event.”); Pfannenstiel v. Merrill Lynch, Pierce, Fenner & Smith, 477 F.3d

  1155, 1158 (10th Cir. 2007) (holding that equitable tolling did not apply because the

  appellant still had one month before the three-month deadline when he learned of

  the evidence and failed to file within that time).

        It appears that the only circuit court to definitively determine this issue is the

  Ninth Circuit in Move, Inc. v. Citigroup Global Markets, 840 F.3d 1152 (9th Cir.

  2016). The Ninth Circuit held that equitable tolling could be applied to the FAA,

  citing legal authority from the U.S. Supreme Court and reasoning that “[i]t is

  hornbook law that limitations periods are customarily subject to equitable tolling . . .




                                        Page 9 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 10 of 31 PageID 10400




  unless tolling would be inconsistent with the text of the relevant statute.” Id. at 1156

  (quoting Young v. United States, 535 U.S. 43, 49 (2002)). The Ninth Circuit then

  went on to conduct a thorough examination of whether the text, structure, or purpose

  of the FAA was inconsistent with equitable tolling, concluding that it was not. Id. at

  1156–58. Absent Eleventh Circuit legal authority on the issue, this Court agrees

  with, and incorporates by reference, the well-reasoned opinion of the Ninth Circuit

  in Move and finds “that the FAA is subject to the established doctrine of equitable

  tolling.” Id. at 1158.

        “Equitable tolling is an extraordinary remedy which is typically applied

  sparingly.” Brown v. Barrow, 512 F.3d 1304, 1307 (11th Cir. 2008) (quoting Steed

  v. Head, 219 F.3d 1298, 1300 (11th Cir. 2000)). Equitable tolling is only

  “appropriate when a movant untimely files because of extraordinary circumstances

  that are both beyond his control and unavoidable even with diligence.” Bhd. of

  Locomotive Eng’rs & Trainmen Gen. Comm. of Adjustment CSX Transp. N. Lines v.

  CSX Transp., 522 F.3d 1190, 1197 (11th Cir. 2008) (emphasis omitted) (quoting

  Sandvik v. United States, 177 F.3d 1269, 1271 (11th Cir. 1999) (per curiam)); see

  also Outler v. United States, 485 F.3d 1273, 1280 (11th Cir. 2007) (holding that the

  elements of equitable tolling are: “(1) extraordinary circumstances and (2) due

  diligence” (citing Diaz v. Sec’y for Dep’t of Corr., 362 F.3d 698, 702 (11th Cir.

  2004))).




                                       Page 10 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 11 of 31 PageID 10401




        Plaintiff argues that extraordinary circumstances beyond its control existed

  here and that it acted with due diligence. A discussion of the sequence of events

  leading up to Plaintiff’s Motion to Vacate is necessary to determine whether

  extraordinary circumstances existed here and whether Plaintiff acted with due

  diligence. The Final Award was issued on March 4, 2021. (Doc. 283-2 at 15). The

  parties filed a Joint Notice (Doc. 283) on March 15, 2021, notifying the Court that

  the arbitration had concluded and requesting a status conference to discuss how to

  proceed with the stayed claims in this litigation in light of the Final Award. (Id. at

  1–2). The Court held a status conference on March 25, 2021, (Min. Entry, Doc. 285,

  at 1–2), and directed the parties to file an Amended Case Management Report for

  the claims that were previously stayed, (Mar. 25, 2021 Endorsed Order, Doc. 287).

  The parties filed an Amended Case Management Report (Doc. 289) on April 21,

  2021, and the Court issued the Second Amended Case Management and Scheduling

  Order (Doc. 291) on May 5, 2021, which reopened discovery in this case for a

  limited period of time through June 30, 2021, (id. at 1). During this time, Plaintiff

  propounded Requests for Production on Soufleris and AMS. (See generally

  Soufleris’s Resp. to Second Reqs. for Prod., Doc. 302-1; AMS’s Resp. to Third

  Reqs. for Prod., Doc. 302-2). When Plaintiff believed that Soufleris’s and AMS’s

  responses to the discovery requests were insufficient, Plaintiff filed a Motion to

  Compel Better Responses (Doc. 302), which was granted in part by the Court on




                                      Page 11 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 12 of 31 PageID 10402




  August 20, 2021, and required Soufleris and AMS to produce the requested

  documents no later than August 26, 2021, (Aug. 20, 2021 Order, Doc. 319, at 7).

  Instead of producing the documents, Soufleris and AMS filed a Motion for

  Reconsideration (Doc. 324), seeking relief from the Court’s Order, which the Court

  denied, (Aug. 27, 2021 Order, Doc. 325, at 3–4). Soufleris and AMS failed to

  produce the compelled documents until November 4, 2021, (Cardwell Decl., Doc.

  353-1, at 1), seventy days after the Court’s deadline to do so, (see Doc. 319 at 7).

  Just six days after this production of documents, AM and AMS filed their Motion to

  Confirm, which noted to the Court that Defendants’ counsel expected Plaintiff to

  raise the issue of misconduct during the arbitration “based upon text messages

  recently produced by Defendants.” (Doc. 333 at 7). Plaintiff then filed a Motion for

  Leave to File Motion to Vacate (Doc. 338) on November 15, 2021, which the Court

  granted on November 17, 2021, (Nov. 17, 2021 Endorsed Order, Doc. 348), after a

  hearing, (Min. Entry, Doc. 345, at 1). Plaintiff filed its Motion to Vacate on

  November 22, 2021. (Doc. 353 at 20).

        This sequence of events demonstrates that Plaintiff was diligently pursuing its

  rights at every step following issuance of the Final Award by the arbitration panel,

  even in the face of Soufleris and AMS actively subverting discovery requests and a

  Court Order by failing to timely produce the requested communications. Based on

  the timing of Soufleris and AMS finally producing the requested communications,




                                      Page 12 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 13 of 31 PageID 10403




  and AM and AMS’s Motion to Confirm just six days after production, it is also clear

  that Defendants were intentionally attempting to run out the clock on Plaintiff’s time

  to file a motion to vacate by failing to produce the documents that could show

  misconduct during the arbitration. These are extraordinary circumstances, and

  Plaintiff acted with due diligence; thus, application of equitable tolling is appropriate

  here, and Plaintiff’s Motion to Vacate is timely based on that tolling.6

                 3.     Motion to Vacate Analysis

         As discussed above, a court may issue an order vacating an arbitration award

  when, inter alia, “the award was procured by corruption, fraud, or undue means.” 9

  U.S.C. § 10(a)(1). The Eleventh Circuit employs “a three part test to determine

  whether an arbitration award should be vacated for fraud”—(1) “the movant must

  establish the fraud by clear and convincing evidence,” (2) “the fraud must not have

  been discoverable upon the exercise of due diligence prior to or during the

  arbitration,” and (3) “the person seeking to vacate the award must demonstrate that

  the fraud materially related to an issue in the arbitration.” Bonar v. Dean Witter

  Reynolds, Inc., 835 F.2d 1378, 1383 (11th Cir. 1988). Plaintiff argues that all three




         6
          Ultimately, if the Eleventh Circuit determines that equitable tolling may not be applied to
  the FAA, this Court notes that the remainder of the claims in this case would be resolved in the
  same manner based on the Court’s inherent sanctioning authority. Thus, only Count II, the count
  previously compelled to arbitration, turns on the issue of equitable tolling.



                                            Page 13 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 14 of 31 PageID 10404




  elements of this test are satisfied based on fraudulent conduct by Soufleris and

  Hawley during the arbitration.

        The relevant events that occurred during the arbitration are as follows. Hawley

  testified via video conference in the arbitration proceeding on December 16, 2020,

  beginning at 3:22 PM Pacific Standard Time, which is 6:22 PM Eastern Standard

  Time. 7 (Arbitration Tr., Doc. 353-3, at 2, 4). At the commencement of his testimony,

  at 6:23 PM, Hawley swore under oath “that the evidence you’re about to give will

  be the truth, the whole truth, and nothing but the truth,” and “that there is no one else

  in the room with you who is not identified and that no unauthorized person can

  communicate with you while you are giving your testimony.” (Id. at 4–5). However,

  just six minutes prior to taking this oath, Soufleris sent an iMessage 8 to Hawley

  stating “[k]eep phone on,” to which Hawley responded at 6:18 PM, “Ok.” (Hawley

  iMessages, Doc. 355-1, at 2). Soufleris then continued to send Hawley messages—

  telling Hawley how to testify—until 8:12 PM, (id.), which time spanned the duration

  of Hawley’s testimony, (Doc. 353-3 at 5–41).

        Hawley has filed a Declaration (Doc. 360-3), wherein he states that he “was

  not aware that Mr. Soufleris was texting [him] during the course of [his] testimony

  and did not review or utilize the text messages from Mr. Soufleris prior to answering



        7
            For clarity, hereinafter, the Court will reference only Eastern Standard Time.
        8
            An iMessage is a form of text message used by Apple electronic devices.



                                             Page 14 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 15 of 31 PageID 10405




  questions during the Arbitration.” (Id. at 4). A review of the messages in conjunction

  with Hawley’s testimony, however, entirely discredits Hawley’s claims of ignorance

  and innocence. First, all of Hawley’s testimony directly aligns in time and subject-

  matter with the messages being sent by Soufleris, and Hawley’s testimony is always

  consistent with Soufleris’s messages. (Compare Doc. 353-3 at 5–41 (showing

  Hawley’s deposition testimony occurring between and 6:24 PM and 8:15 PM) with

  Doc. 355-1 at 2 (showing Soufleris’s messages to Hawley between 6:24 PM and

  8:12 PM)). Moreover, there are three specific instances during Hawley’s testimony

  that establishes by clear and convincing evidence that his testimony was indeed

  being guided by Soufleris’s messages.

        At 6:25 PM, Hawley was asked, “[i]n fact, you signed numerous noncompetes

  with Absolute Medical, correct?” (Doc. 353-3 at 6). Hawley responded, “[o]ver the

  years, yes” but then corrected his answer to say “[o]n behalf of Hawley Med.” (Id.).

  At this same time, at 6:24 PM by the timestamp of the messages, Soufleris had

  messaged Hawley, saying “[i]t was your corporate entity.” (Doc. 355-1 at 2). This

  exchange shows that Hawley corrected his answer to clarify that he signed on behalf

  of his corporate entity—Hawley Medical—after being prompted to do so by

  Soufleris’s message.

        Between 6:28 PM and 6:29 PM, Hawley was directed to the language in a

  specific email he sent to “Nuvasive’s leadership” and asked what it meant. (Doc.




                                      Page 15 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 16 of 31 PageID 10406




  353-3 at 9). At 6:28 PM, Soufleris sent Hawley a message stating that it was

  “[t]ypical political stuff to get you on his good side.” (Doc. 355-1 at 2 (emphasis

  added)). Hawley then responded to the question about the email at 6:30 PM, stating

  that it was “one of those kind of political emails where I’m, you know, trying to get

  on the good side of the CEO of the company that I’m working for.” (Doc. 353-3 at

  10 (emphasis added)). Hawley’s use of the exact terms “political” and “good side”

  surely indicate that his testimony was guided by Soufleris’s message.

        Finally, between 8:07 PM and 8:13 PM, Hawley was being questioned about

  a certain device that Hawley mailed to his new employer, Alphatec, as an example

  of what Alphatec needed to create to make its products function better. (Id. at 34–

  40). This line of questioning related to Plaintiff’s allegations that Defendants

  improperly took Plaintiff’s devices and gave them to Alphatec to copy. At 8:10 PM,

  Soufleris messaged Hawley, stating “Atec driver and Stryker,” (Doc. 355-1 at 2),

  which were the two Alphatec products being discussed, (see Doc. 353-3 at 35–37).

  At 8:11 PM, Soufleris emphasized his previous “Atec driver and Stryker” message,

  and at 8:12 PM, Soufleris again messaged “Stryker.” (Doc. 355-1 at 2). During this

  time, Hawley was specifically questioned about an email between himself and an

  Alphatec employee, where the employee thanked Hawley for sending Alphatec an

  “alternative driver.” (Doc. 353-3 at 36). At first, at 8:10 PM—the exact time

  Soufleris was sending the first message and therefore before Hawley would have




                                      Page 16 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 17 of 31 PageID 10407




  had a chance to read it—Hawley testified that he could not remember what he

  mailed. (Id.). But then, at 8:12 PM—after Hawley would have had the opportunity

  to read at least the first message—he changed his testimony and stated that he had

  shipped the “ATEC driver,” (id. at 39), which is consistent with Soufleris’s message.

  However, counsel then questioned Hawley, asking “[w]hy would you need to ship

  an Alphatec product to Alphatec as an example of what they need to create?” (Id. at

  39–40). Hawley, apparently noting the error of following Soufleris’s directed

  responses, stated that “[y]eah, I guess that doesn’t make sense.” (Id. at 40).

        All three of these examples, combined with the complete alignment of all of

  Hawley’s testimony with Soufleris’s messages, establishes by clear and convincing

  evidence that Hawley was reading Soufleris’s messages in real-time while Hawley

  was testifying and conforming his testimony to Soufleris’s messages. Given this

  compelling evidence, the Court finds that Hawley’s declaration that he was not

  reviewing the messages is simply not credible. In re Delta/AirTran Baggage Fee

  Antitrust Litig., No. 1:09-md-2089-TCB, 2015 U.S. Dist. LEXIS 101474, at *46–47

  n.13 (N.D. Ga. Aug. 3, 2015) (noting that “on a motion for sanctions, . . . credibility

  determinations are not reserved for the jury”).

        Turning back to the three-part Eleventh Circuit test for vacating an arbitration

  award, as to the first element—that the movant must establish the fraud by clear and

  convincing evidence—Plaintiff has done so. Hawley took an oath that no




                                       Page 17 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 18 of 31 PageID 10408




  unauthorized person could communicate with him during his testimony. Hawley

  violated that oath when Soufleris sent him messages telling Hawley how to answer

  questions, and Hawley conformed his answers to align with Soufleris’s directions.

  Lying under oath is just the type of fraud envisioned by the provision of the FAA

  allowing for vacation of an arbitration award. Bonar, 835 F.2d 1378, 1383–84

  (directing a district court to vacate an arbitration award due to perjury).

        As to the second element—that the fraud must not have been discoverable

  upon the exercise of due diligence prior to or during the arbitration—certainly

  Plaintiff could not have discovered prior to arbitration that Soufleris was planning

  to improperly direct Hawley’s testimony. Plaintiff contends that it also could not

  have discovered the fraud while it was ongoing because Hawley’s testimony was

  occurring via video feed. (Doc. 353-1 at 3 (noting that “Soufleris was physically

  present in Atlanta, Georgia at the offices of his counsel, Bryan E. Busch” during his

  testimony, which occurred just prior to Hawley’s testimony, and that “Hawley was

  physically present in the Orlando, Florida, metropolitan area”)). The Court agrees.

  Plaintiff could not have possibly discovered that this was occurring because no one

  was in the room with Hawley at the time of his video testimony. This is especially

  true in light of Hawley’s oath that he would not communicate with any unauthorized

  person during his testimony, which Plaintiff took to be true.




                                       Page 18 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 19 of 31 PageID 10409




        Finally, Plaintiff must demonstrate that the fraud materially related to an issue

  in the arbitration. “This last element does not require the movant to establish that the

  result of the proceedings would have been different had the fraud not occurred.”

  Bonar, 835 F.2d at 1383. Some of the key issues in the arbitration were whether

  Defendants—including Hawley—executed non-competition agreements as were

  required by AM’s 2017 Sales Agreement, whether Defendants violated those

  agreements, and if so, whether AM took any action to enforce the non-competition

  agreements. (Doc. 283-2 at 7 (discussing AM’s “fail[ure] to secure annual non-

  compete agreements from at least two members of its salesforce (Hawley and Miller)

  for calendar year 2017, as it was contractually required to do”); Arbitration Partial

  Summ. J. Order, Doc. 283-1, at 6 (discussing the requirement that AM “vigorously

  enforce” the non-competition agreements and Plaintiff’s claim relating to AM’s

  failure to do so)). Hawley’s testimony related directly to these issues. (See generally

  Doc. 353-3). Accordingly, the fact that Hawley’s testimony, which was central to

  the issues before the arbitration panel, was procured by fraud establishes that the

  fraud materially related to an issue in the arbitration.

        As a result of the fraud committed by Soufleris and Hawley—which has been

  proven by clear and convincing evidence, could not have been discovered by

  Plaintiff prior to or during the arbitration, and was materially related to an issue in

  the arbitration—this Court finds it necessary to vacate the Final Award issued by the




                                        Page 19 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 20 of 31 PageID 10410




  arbitration panel.9 Given this conclusion, the Court is left to determine how to

  proceed with the count compelled to arbitration and the remainder of this litigation.

  The FAA provides that “[i]f an award is vacated and the time within which the

  agreement required the award to be made has not expired, the court may, in its

  discretion, direct a rehearing by the arbitrators.” 9 U.S.C. § 10(b). Defendants argue

  that the appropriate remedy is a new arbitration. (Doc. 360 at 18). Plaintiff simply

  requests “any such further and general relief as [the Court] deems just and

  appropriate.” (Doc. 355 at 19).

        The statutory language places complete discretion about how to proceed in

  this Court’s hands. However, requiring Plaintiff to participate in a new arbitration

  proceeding would not be appropriate when the failure of the first “lengthy and costly

  multi-day arbitration hearing,” (Defs.’ Mot. for Reconsideration, Doc. 292, at 6),

  was due solely to Defendants’ misconduct. Further, there is no evidence to

  demonstrate that Defendants would modify their unacceptable behavior in a new

  arbitration proceeding, and it would be extremely prejudicial to Plaintiff to require

  it to go through the time and expense of a new proceeding while simultaneously

  again delaying the remainder of this litigation. At this point in this years’ long

  litigation, the Court is left to look for another remedy—one which finally resolves

  all of the misconduct that has occurred in this case and not just the fraud that


        9
            For the same reasons, Defendants’ Motion to Confirm must be denied.



                                           Page 20 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 21 of 31 PageID 10411




  occurred during the arbitration. Therefore, the Court will exercise jurisdiction over

  the arbitrated claims in conjunction with the ongoing litigation here to reach a final

  resolution. In doing so, the Court will reconsider the facts of Defendants’ previous

  and ongoing misconduct here along with the most recent conduct by Defendants in

  the arbitration to craft an appropriate sanction.

                                     III.    SANCTIONS

         A.     Background

         Some background regarding Defendants’ misconduct before this Court is

  necessary to understand the sequence of events that have led to this juncture.

  Previously, after extensive consideration, the Court granted a motion by Plaintiff for

  Defendants’ spoliation of evidence, (“Spoliation Motion,” Doc. 203), citing

  Defendants’ intentional “wholesale destruction of evidence in this case,” including

  an entire email domain, additional email accounts, and text messages from multiple

  cell phone numbers belonging to Defendants, all of which contained evidence

  relevant to the issues in this case. 10 (Doc. 290 at 18; id. at 10–21, 56–57). The Court

  concluded that “[t]he facts regarding Defendants’ spoliation of vast amounts of

  evidence in this case are clear. Defendants were on notice to preserve evidence

  relevant to this case. Defendants and their counsel not only failed to take reasonable



         10
            The Court’s Summary Judgment Order, which included consideration of the Spoliation
  Motion, is incorporated by reference into this Order. (See generally Doc. 290).



                                         Page 21 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 22 of 31 PageID 10412




  steps to preserve that evidence, . . . but intentionally destroyed vast amounts of

  evidence. And most of the spoliated evidence cannot be restored or replaced.” (Id.

  at 18). In reaching that conclusion, the Court also expressed grave concerns about

  “Defendants’ previous penchant for duplicity on the record in this litigation,”

  Defendants’ “lack [of] credibility,” and Defendants’ counsel’s11 role in the evidence

  spoliation. (Id. at 16, 20). As a result, pursuant to the legal authority set forth in

  Federal Rule of Civil Procedure 37(e), “in the exercise of its discretion, the Court”

  determined that the appropriate sanction would be to “‘presume that the lost

  information was unfavorable to [Defendants]’” and, if this case proceeds to a jury

  trial, . . . ‘instruct the jury that it . . . must presume the information was unfavorable

  to [Defendants].’” (Id. at 20 (footnote omitted) (quoting Fed. R. Civ. P. 37(e)(2)(A)–

  (B) (emphasis added))). The Court also required Defendants’ counsel to show cause

  as to why he should not be sanctioned for his role in the spoliation. (Id. at 57).

  However, based on the conduct during the arbitration that has most recently come to

  light, the Court is left to reconsider its previous exercise of discretion under Rule

  37(e) for the evidence spoliation combined with Defendants’ conduct during and

  following the arbitration.




         11
           Defendants’ only counsel involved in the spoliation of evidence was Mr. Bryan E. Busch.
  (Doc. 290 at 14, 20–21). None of the other counsel of record in this case are implicated.



                                           Page 22 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 23 of 31 PageID 10413




         Following Defendants’ fraud during the arbitration, as noted above, the Court

  permitted the parties to file a new Case Management Report and file a second round

  of dispositive motions associated with the counts that had previously been stayed

  pending completion of the arbitration. During this time—while Defendants were

  actively defying the Court’s discovery Order requiring the text messages to be

  produced—Defendants vigorously argued in no less than four motions before the

  Court that the Court was bound by the Final Award in the arbitration for Count II as

  applied to most of the remainder of the counts pending in this litigation. (See Doc.

  292 at 6–7; Doc. 308 at 2, 4–10; Doc. 312 at 4–7 (also arguing that Count III should

  be compelled to arbitration); Defs.’ Mot. for Partial Reconsideration, Doc. 341 at 1–

  2). 12 In other words, Defendants were attempting to have this Court enforce their

  fraudulently obtained arbitration award and to use that award to legally bar most of

  the remaining claims in this case. Thus, Defendants not only committed fraud in the

  arbitration, but they also attempted to commit fraud in this Court.




         12
           The Court previously considered and rejected these arguments on the merits. (Oct. 25,
  2021 Order, Doc. 331, at 7–9; Nov. 12, 2021 Order, Doc. 334, at 6–11, 13–14; Nov. 16, 2021
  Order, Doc. 346, at 2–3).



                                          Page 23 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 24 of 31 PageID 10414




        B.     Legal Standard

        Both Rule 37(e), which governs sanctions for the previous spoliation of

  electronically stored information, and the Court’s inherent sanction authority are

  relevant here.

               1.    Rule 37(e)

        “Spoliation is the destruction or significant alteration of evidence, or the

  failure to preserve property for another’s use as evidence in pending or reasonably

  foreseeable litigation.” Graff v. Baja Marine Corp., 310 F. App’x 298, 301 (11th

  Cir. 2009). Federal Rule of Civil Procedure 37(e), which governs the spoliation of

  electronically stored information states:

               If electronically stored information that should have been
               preserved in the anticipation or conduct of litigation is lost
               because a party failed to take reasonable steps to preserve
               it, and it cannot be restored or replaced through additional
               discovery, the court:
                     (1) upon finding prejudice to another party from
                     loss of the information, may order measures no
                     greater than necessary to cure the prejudice; or

                     (2) only upon finding that the party acted with the
                     intent to deprive another party of the information’s
                     use in the litigation may:

                            (A) presume that the lost information was
                            unfavorable to the party;

                            (B) instruct the jury that it may or must
                            presume the information was unfavorable to
                            the party; or




                                       Page 24 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 25 of 31 PageID 10415




                              (C) dismiss the action or enter a default
                              judgment.

  Fed. R. Civ. P. 37(e); see Williford v. Carnival Corp., No. 17-21992-CIV-

  COOKE/GOODMAN, 2019 U.S. Dist. LEXIS 88808, at *13–17 (S.D. Fla. May 28,

  2019) (citing Fed. R. Civ. P. 37(e) advisory committee’s note to 2015 amendment).

                2.     Inherent Authority

         Courts have an inherent sanctioning power, not arising from rule or statute.

  Chambers v. NASCO, Inc., 501 U.S. 32, 43, 46 (1991). “[A] federal court may resort

  to its inherent power to sanction an attorney or a party for bad faith conduct.” Byrne

  v. Nezhat, 261 F.3d 1075, 1121 (11th Cir. 2001). “This includes the power ‘to

  fashion an appropriate sanction for conduct which abuses the judicial process.’”

  Hernandez v. Acosta Tractors, Inc., 898 F.3d 1301, 1306 (11th Cir. 2018) (quoting

  Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1223 (11th Cir.

  2017)). However, this power “must be exercised with restraint and discretion,”

  Chambers, 501 U.S. at 44, and “key to unlocking a court’s inherent power is a

  finding of bad faith,” Purchasing Power, 851 F.3d at 1223. 13 “And such a bad faith

  finding must be made in compliance ‘with the mandates of due process,’ requiring




         13
            “[A] court has inherent power . . . to sanction a party who has acted in bad faith,
  vexatiously, wantonly, or for oppressive reasons.” Marx v. Gen. Rev. Corp., 568 U.S. 371, 382
  (2013).



                                         Page 25 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 26 of 31 PageID 10416




  fair notice and an opportunity to be heard.” Hernandez, 898 F.3d at 1306 (quoting

  Kornhauser v. Comm’r of Soc. Sec., 685 F.3d 1254, 1257 (11th Cir. 2012)).

        C.     Analysis

        In the many years that the Undersigned has practiced law and sat on the bench

  as a state and then federal court judge, never has he witnessed conduct so persistently

  contrary to the principles of our judicial process as the actions by Defendants in this

  case. That misconduct must be stopped.

        Previously, the Court has strenuously attempted to exercise restraint and

  discretion when levying sanctions in this case. From the early stages of this case, at

  the preliminary injunction hearing, the Court recognized and brought to Defendants’

  attention that they were not being truthful with the Court. (Prelim. Inj. Hr’g Tr., Doc.

  79, at 118 (discussing Defendants’ untruthful answers to discovery requests and

  complete memory failures on cross-examination despite having perfect recall on

  direct examination)). Then the Court went through exhaustive efforts to recover

  evidence intentionally spoliated by Defendants. (See Jan. 3, 2020 Order, Doc. 219

  at 1–2 (discussing attempts to recover the deleted emails); Defs.’ Notice of

  Compliance, Doc. 220, at 1–2 (discussing same); Defs.’ Notice of Compliance, Doc.

  221, at 1–2 (discussing same)). Still, the Court exercised restraint under Rule 37(e),

  opting for lesser sanctions while allowing Defendants to show cause for their

  conduct. (Doc. 290 at 20 n.17). Ultimately, the Court’s repeated attempts to curb




                                       Page 26 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 27 of 31 PageID 10417




  Defendants’ conduct have been fruitless. While the Court was attempting to impose

  the least severe sanction necessary, Defendants meanwhile were continuing their

  abusive behavior, this time in the arbitration proceeding. Finally, Defendants chose

  to bring that fraud here to this Court by subverting a discovery Order and attempting

  to obtain judgment on all claims based on the result of the arbitration.

        Thus, the Court now considers the ultimate sanction of default. “‘Ultimate

  sanction’ cases . . . rest upon the conviction that no lesser sanction will prevent the

  offending litigant from continuing to lie or distort the truth so pervasively that it

  ‘prevent[s] the opposing party from fairly presenting his case or defense.’ Use of the

  ‘ultimate sanction’ addresses not only prejudice suffered by the opposing litigants,

  but also vindicates the judicial system as a whole, for such misconduct threatens the

  very integrity of courts, which otherwise ‘cannot command respect if they cannot

  maintain a level playing field amongst participants.’” Chemtall Inc. v. Citi-Chem,

  Inc., 992 F. Supp. 1390, 1409 (S.D. Ga. 1998). For the numerous reasons outlined

  in this Order—and the Court’s previous Orders—default judgment against all

  Defendant appears to be the appropriate resolution to this case.

        However, pursuant to the Court’s inherent sanction authority, when the Court

  is considering sanctioning a party or an attorney, the Court must comply with “with

  the mandates of due process.” Hernandez, 898 F.3d at 1306 (quoting Kornhauser,

  685 F.3d at 1257). “[C]omplying with the mandates of due process means that the




                                       Page 27 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 28 of 31 PageID 10418




  [party or] attorney must, first, be afforded ‘fair notice that [their] conduct may

  warrant sanctions and the reasons why,’ and, second, ‘be given an opportunity to

  respond, orally or in writing, to the invocation of such sanctions and to justify [their]

  actions.’” Kornhauser, 685 F.3d at 1257–58 (quoting Glatter v. Mroz (In re Mroz),

  65 F.3d 1567, 1575–76 (11th Cir. 1995)). Therefore, all Defendants will be required

  to show cause as to why this Court should not grant default Judgment to Plaintiff on

  all counts and award attorneys’ fees and costs.

        To be clear, Defendants have had ample due process and opportunity to

  respond to the factual allegations against them, and the Court has concluded the

  weighing of evidence. The factual findings in this Order should not be argued in

  Defendants’ response. Instead, in an abundance of caution to ensure every aspect of

  due process is provided, the Court will hear from Defendants on the limited legal

  issue of whether default judgment and an award of fees and costs is the appropriate

  sanction.

        D.     Mr. Busch

        As noted, Defendant’s counsel, Mr. Busch, was previously ordered to show

  cause as to why sanctions should not be imposed on him for his actions relating to

  Defendants’ spoliation of evidence. That issue remains outstanding. Unfortunately,

  it has now become clear that Mr. Busch’s complicity may run even deeper than first

  anticipated. Specifically, it appears that Soufleris was in Mr. Busch’s office with




                                        Page 28 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 29 of 31 PageID 10419




  him while sending Hawley messages, perpetrating the fraudulent arbitration. (Doc.

  353-1 at 3). Moreover, Mr. Busch attempted to commit fraud on this Court by openly

  defying the Court’s discovery Order and by making legal arguments that the

  arbitration award that he knew was obtained fraudulently had a binding effect on the

  claims here. Therefore, Mr. Busch will also be ordered to show cause as to why he

  should not be held jointly and severally liable with Defendants for an award of

  attorneys’ fees and costs.

                                    IV.     CONCLUSION

        In accordance with the foregoing, it is ORDERED and ADJUDGED as

  follows:

             1. Absolute Medical, LLC’s and Absolute Medical Systems, LLC’s

                Motion to Confirm Arbitration Award (Doc. 333) is DENIED.

             2. Plaintiff’s Motion to Vacate Arbitration Award (Doc. 353) and Sealed

                Motion to Vacate Arbitration Award (Doc. 355) are GRANTED.

                   a. The Arbitration Award (Doc. 283-2) is VACATED.

             3. On or before January 17, 2022,14 Defendants shall SHOW CAUSE

                as to:




        14
           Absent extraordinary circumstances, this deadline shall not be extended due to the
  impending jury trial scheduled to begin on February 7, 2022.



                                          Page 29 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 30 of 31 PageID 10420




                 a. why default judgment should not be granted to Plaintiff and

                    against all Defendants on all counts;

                 b. why attorneys’ fees and costs should not be awarded to Plaintiff;

                    and

                 c. why Defendants and their attorney Bryan E. Busch should not be

                    jointly and severally liable for the award of attorneys’ fees and

                    costs.

                 d. Defendants and Mr. Busch may file a Response of no more than

                    ten pages.

                 e. While Plaintiff need not file a Reply, if Plaintiff wishes to file a

                    Reply, it shall do so on or before January 24, 2022, and the

                    Reply shall be no more than five pages. If Plaintiff chooses to

                    not file a Reply, Plaintiff shall file a notice on the record to that

                    effect in order to most expeditiously handle this matter.

           4. Defendants’ Motion to Strike Declaration of Clayton (Doc. 368) is

              DENIED as moot.

           5. This Order is currently filed under seal based on the sealed status of

              several documents addressed herein. However, on or before February

              9, 2022, the parties shall file a joint proposed redacted version of this




                                     Page 30 of 31
Case 6:17-cv-02206-CEM-GJK Document 371 Filed 01/10/22 Page 31 of 31 PageID 10421




              Order, which can be placed on the public docket. Failure to do so will

              result in the full unredacted Order being placed on the public docket.

        DONE and ORDERED in Orlando, Florida on January 10, 2022.




  Copies furnished to:

  Counsel of Record




                                     Page 31 of 31
